Case 2:02-cv-02885-.]PI\/| Document 64 Filed 07/19/05 Page 1 of 2 Page|D 82

 

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Plaintiff,

v.
No. 02-2885 Ml/V
KIMBALL PRODUCTS, INC. and
RON KIMBALL,

Defendants.

 

J`U'DGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Court's Order Directing Clerk to Reo en Cause
and Directing Entry of Consent Judgments, entered July Z§, 2005,
judgment is hereby entered in favor of Plaintiff against
Defendant Ron Kimball in the amount of $29,635.15, and against
Defendant Kimball Products, Inc. in the amount of $57,304.16.

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ON P. MCCALLA
UN ED STATE`.S DISTRICT COURT

 

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(B§LQJ) C rk of Court

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(Béz Deputy Clerk

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:02-CV-02885 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

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Kimball Products, In
KIMBALL PRODUCTS INC.
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Benton Harbor, l\/H 49022

Honorable J on McCalla
US DISTRICT COURT

